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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

ROBERT BLESS,                                 )
                                              )
              Plaintiff,                      )
                                              )      13 C 4271
      v.                                      )
                                              )      Judge John Z. Lee
COOK COUNTY SHERIFF’S OFFICE;                 )
COOK COUNTY SHERIFF’S MERIT                   )
COMMISSION; COOK COUNTY;                      )
TOM DART, in his official and                 )
individual capacities; DEWAYNE                )
HOLBROOK; JOSEPH WAYS, SR.;                   )
ZELDA WHITTLER; SHERYL                        )
COLLINS; EDWARD DYNER;                        )
ROSEMARIE NOLAN; and                          )
HENRY HEMPHILL,                               )
                                              )
              Defendants.                     )

                    MEMORANDUM OPINION AND ORDER

      Plaintiff Robert Bless (“Plaintiff”) brings this action under 42 U.S.C. § 1983

and Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., alleging that

he was fired from his job as a Cook County Sheriff’s police officer because of his race

and political affiliation. Among the named Defendants in this action is Thomas

Dart (“Dart”), the Cook County Sheriff. On February 24, 2017, Magistrate Judge

Mason issued a discovery order in which he denied Plaintiff’s motion to compel the

deposition of Dart and granted Defendants’ motion to quash the notice of Dart’s

deposition.   Plaintiff, however, still wishes to depose Dart and has thus filed

objections to the magistrate judge’s order. For the reasons stated below, Plaintiff’s

objections [226] are overruled.
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                                    Background

      Plaintiff filed this lawsuit in June 2013 after he was terminated from his

position as a police officer of the Cook County Sheriff’s Office (CCSO). In his Third

Amended Complaint, Plaintiff brings various claims alleging race discrimination

and political retaliation.   As relevant here, his claims include a § 1983 political

retaliation claim against all Defendants, including against Dart in his individual

capacity, and a Monell claim alleging that the CCSO has a policy or practice of

retaliating against employees on the basis of their political affiliation. See 3d Am.

Compl. ¶¶ 102–12, ECF No. 140.

      On February 6, 2017, Plaintiff filed a motion to compel the deposition of Dart.

See Pl.’s Mot. Compel, ECF No. 214. Soon thereafter, Defendants filed a cross-

motion to quash the notice of Dart’s deposition.         See Defs.’ Mot. Quash, ECF

No. 218. In an order dated February 24, 2017, Magistrate Judge Mason denied

Plaintiff’s motion to compel and granted Defendants’ motion to quash. Order of

2/24/17, at 4–6, ECF No. 226. In ruling on the motions, Magistrate Judge Mason

first discussed Seventh Circuit precedent holding that “public officials ‘should not

have to spend their time giving depositions in cases arising out of the performance

of their official duties unless there is some reason to believe that the deposition will

produce or lead to admissible evidence.’” Id. at 4–5 (quoting Olivieri v. Rodriguez,

122 F.3d 406, 409–10 (7th Cir. 1997)).         He then explained that, in light of the

evidence in the record, which included Dart’s sworn statements that he had no

unique or personal knowledge of Plaintiff’s allegations, there was no reason to




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believe that a deposition of Dart was warranted.       Id. at 5–6.   The day after

Magistrate Judge Mason issued his discovery order, Plaintiff filed objections to the

order before this Court.

                                 Legal Standard

      The Court reviews a magistrate judge’s order on a nondispositive pretrial

matter only to determine whether the order “is clearly erroneous or is contrary to

law.” Fed. R. Civ. P. 72(a). Under this standard, the Court “can overturn the

magistrate judge’s ruling only if [the Court] is left with the definite and firm

conviction that a mistake has been made.” Weeks v. Samsung Heavy Indus. Co., 126

F.3d 926, 943 (7th Cir. 1997).      Because this standard is deferential to the

magistrate judge’s decision, an objecting party carries a heavy burden in persuading

the Court to modify the magistrate judge’s ruling. See Finwall v. City of Chi., 239

F.R.D. 504, 506 (N.D. Ill. 2006); F.T.C. v. Pac. First Benefit, LLC, 361 F. Supp. 2d

751, 754 (N.D. Ill. 2005).

                                     Analysis

      District courts may limit discovery “to protect a party or person from

annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R. Civ.

P. 26(c)(1). In determining whether there is good cause to limit discovery, courts

have recognized that “depositions of public officials create unique concerns.”

Stagman v. Ryan, 176 F.3d 986, 994–95 (7th Cir. 1999). Thus, even when they are

among the defendants named in a lawsuit, public officials need not give depositions

in cases arising from the performance of their official duties “unless there is some




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reason to believe that the deposition will produce or lead to admissible evidence.”

Olivieri, 122 F.3d at 409–10. Courts have accordingly denied motions to compel

depositions of public officials where there is insufficient reason to expect the

depositions to yield relevant evidence unobtainable through other means. See, e.g.,

Stagman, 176 F.3d at 994 (holding that district court did not abuse its discretion in

denying motion to compel deposition of Illinois Attorney General where evidence did

not indicate a need for the deposition); Olivieri, 122 F.3d at 409–10 (holding that

district court did not abuse its discretion in denying motion to compel deposition of

police superintendent where the record indicated that interrogatories served on the

superintendent would have been a sufficient means of developing evidence);

LaPorta v. City of Chi., No. 14 C 9665, 2016 WL 4429746, at *2 (N.D. Ill. Aug. 22,

2016) (denying motion to compel deposition of city mayor in case involving Monell

claim because there was no reason to think the deposition would lead to admissible

evidence that could not be obtained through interrogatories).

      In objecting to Magistrate Judge Mason’s discovery order, Plaintiff primarily

takes issue with the magistrate judge’s conclusion that “‘there is nothing unique or

personal about Dart’s knowledge of the allegations in the complaint that would

warrant his deposition.’” Pl.’s Objs. at 3, ECF No. 225 (quoting Order of 2/24/17, at

5). Plaintiff argues that, to the contrary, the record suggests that Dart indeed has

personal knowledge of facts relating to Plaintiff’s allegations. In support, Plaintiff

points to three pieces of evidence: (1) Plaintiff’s testimony that, prior to his

termination, he met Dart at a fundraiser, told Dart he worked for the CCSO, and also




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told Dart he was a Republican who had recently been elected as a McHenry County

Commissioner; (2) a union grievance decision recounting testimony in which a CCSO

deputy claimed that, in 2007, Dart issued a memorandum expressing a desire to

“begin requiring strict compliance” with certain CCSO personnel policies; and (3) a

television interview in which Dart stated that he sometimes transferred employees to

different work locations in order to “send a message” and make employees’ lives

“tricky.” Pl.’s Objs. at 5–6; Pl.’s Mot. Compel at 7, 9–11, ECF No. 214.

      In denying Plaintiff’s motion to compel, Magistrate Judge Mason considered

this evidence and concluded that it was insufficient to support Plaintiff’s assertion

that a deposition of Dart would produce or lead to evidence relevant to Plaintiff’s

claims. Order of 2/24/17, at 4–6. The Court is not convinced that Magistrate Judge

Mason’s determination was erroneous.

      First, Plaintiff’s deposition testimony about speaking with Dart at a

fundraiser is an insufficient basis to allow Plaintiff to depose Dart.         As the

magistrate judge noted, Dart attested in his interrogatory responses that, although

he “recalls meeting Plaintiff one time,” he does not remember Plaintiff telling him

that he was a Republican or that he ran for election as a McHenry County

Commissioner. Id. at 5; see also Pl.’s Mot. Compel at 8 (quoting Dart’s interrogatory

response). Given Dart’s lack of recollection as to his conversation with Plaintiff at

the fundraising event, there is no reason to believe that further questioning on this

topic would produce evidence relevant to Plaintiff’s claims. Plaintiff’s bare assertion

otherwise is based only on speculation.




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        Plaintiff’s reliance on the union grievance decision and the television

interview is likewise unpersuasive.        Plaintiff claims that this evidence offers a

reason to believe that deposing Dart would lead to evidence regarding Dart’s

involvement in CCSO personnel policies and matters. Pl.’s Objs. at 5–6. But, as

Plaintiff acknowledges, Dart stated in his sworn interrogatory responses that he

had no involvement in CCSO personnel policies. Id. at 5. In light of these sworn

statements, the magistrate judge concluded that Plaintiff had “not provide[d] any

basis . . . to believe Dart could provide any unique, relevant information with

respect to [Plaintiff’s] claims.” Order of 2/24/17, at 5. This conclusion was not

clearly erroneous.     The union grievance decision offers only weak, unreliable

support for Plaintiff’s position, as it merely involves third-party testimony about

Dart rather than sworn testimony from Dart himself. Likewise, Dart’s comments in

the television interview about “sending a message” do not support Plaintiff’s

assertion that a deposition of Dart would lead to evidence bearing on Plaintiff’s

retaliation claims.    Rather, as the magistrate judge explained, “Dart was likely

referring to job performance rather than political affiliation” when he made these

comments. Order of 2/24/17, at 5. 1




1         Dart’s comments during the television interview were as follows: “If [my employees
are] not doing what I need them to do, they either get fired, or I can make their life tricky
by transferring them to a different location to make their drives longer, things like that. I
told [Cook County Chief Judge Timothy Evans], I said, ‘Look. If you have a judge who lives
out in the south suburbs and is very comfortable out in Markham but just doesn’t perform’
. . . I suggested [moving the judge to] Rolling Meadows. . . . So there’s many, many things
you can do to send a message.” Pl.’s Mot. Compel at 11 (quoting Dart television interview).



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        What is more, even if the union grievance decision and the statements from

Dart’s television interview could raise a question as to whether Dart was involved

in CCSO personnel policies in ways relevant to Plaintiff’s claims, Plaintiff has

already had an opportunity to ask Dart this question, and Dart answered this

question—under oath—in the negative. See Pl.’s Objs. at 5–6 (“In his interrogatory

answers, Dart denied involvement in CCSO personnel policies.”).             The fact that

Plaintiff does not like or does not believe Dart’s interrogatory answers is an

insufficient basis to allow Plaintiff to proceed with a deposition of Dart. This is

especially so, given the burden that such a deposition would place on Dart as a

public official with limited time to spend on litigation activities. See Stagman, 176

F.3d at 994–95; Olivieri, 122 F.3d at 409–10.

        In addition, it bears noting that Magistrate Judge Mason’s discovery order

expressly advised Plaintiff that, if he wished “to serve additional written

interrogatories on Dart in order to follow up on his previous responses or any other

matter, he [was] entitled to do so before the close of discovery.” Order of 2/24/17, at 5. 2

Plaintiff has not explained why serving additional interrogatories on Dart would

have been an insufficient means of developing further evidence.              In fact, it is

undisputed that Plaintiff did not even attempt to serve such additional

interrogatories.   See CCSO Resp. at 3, ECF No. 236 (“Plaintiff has declined to

propound additional written interrogatories or otherwise sought [sic] to submit

written deposition questions to Sheriff Dart.”). In his reply brief, Plaintiff asserts

2      Fact discovery closed on March 31, 2017, over a month after the magistrate judge
issued his order.



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that “written interrogatory responses from Dart—polished answers filtered through

his lawyers—[are] not an appropriate or fair discovery vehicle to obtain evidence,”

and that “Plaintiff should not be deprived of the opportunity to obtain this material

evidence.”   Reply at 2, ECF No. 248.         But these conclusory assertions are

unpersuasive. It goes without saying that serving written interrogatories is a fair

and accepted means of conducting discovery. And Plaintiff cannot credibly claim

that he has been “deprived” of an opportunity to obtain evidence when he did not

even take full advantage of the discovery opportunities that were available to him.

Cf. Olivieri, 122 F.3d at 410 (holding that district court judge “quite rightly refused

to let [plaintiff] depose [defendant]” where plaintiff did not first attempt to develop

discovery using interrogatories).

      Plaintiff also argues that the magistrate judge should have granted the

motion to compel because Dart’s disavowal of personal knowledge regarding

Plaintiff’s allegations is “legally insufficient to preclude [Dart’s] deposition

altogether.” Pl.’s Objs. at 4. Plaintiff, however, cites no authority instructing the

Court to disregard or disbelieve Dart’s denial of personal knowledge as to Plaintiff’s

allegations. The only cases Plaintiff musters in support—CSC Holdings, Inc. v.

Redisi, 309 F.3d 988 (7th Cir. 2002), and Steadfast Insurance Co. v. Auto Marketing

Network, Inc., No. 97 C 5696, 1999 WL 300231 (N.D. Ill. May 3, 1999)—are readily

distinguishable from the facts at hand. In CSC Holdings, the Seventh Circuit held

that the district court should have granted a motion to compel the deposition of a

high-ranking individual in the cable television industry because the individual had




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personal knowledge of information that could not be obtained elsewhere and “the

record prove[d] that [the individual’s] deposition was highly relevant.” 309 F.3d at

993–94. Similarly, in Steadfast, the court granted a motion to compel a deposition

where the deponent “plainly ha[d] information that [was] discoverable under Rule

26(b)(1),” was not a public official, had not persuaded the court that the requested

discovery would be duplicative or unduly burdensome, and had not offered a sworn

affidavit to support his assertion that he lacked relevant knowledge.      1999 WL

300231, at *1–2. By contrast, for the reasons explained above, the record in this

case does not suggest that a deposition of Dart would lead to unique, admissible

evidence.   Furthermore, Dart has provided sworn statements denying personal

knowledge of the issues in the case. As such, Plaintiff’s reliance on CSC Holdings

and Steadfast is misplaced.

      Finally, Plaintiff contends that he should be given the opportunity to depose

Dart regarding Dart’s policymaking authority within the CCSO, because such

evidence is relevant to Plaintiff’s Monell claim. Pl.’s Objs. at 8. The Court rejects

this argument for the same reasons it rejects Plaintiff’s other arguments. First, as

Plaintiff admits, Dart attested in his interrogatory responses that “he delegates

policymaking authority to subordinate CCSO officials.” Pl.’s Objs. at 8. In light of

this sworn statement, it does not appear likely that a deposition of Dart on this

topic would yield unique, admissible evidence relevant to Plaintiff’s claims. More

importantly, even if further questioning of Dart could yield such evidence, Plaintiff




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has again failed to explain why additional interrogatories would have been an

insufficient mechanism for developing such evidence.

      In sum, Plaintiff has not given a sufficient reason to believe that a deposition

of Dart would create or lead to unique, admissible evidence.       Nor has Plaintiff

explained why the discovery tools that were available to him (and which he declined

to use) were an insufficient means of developing the evidence he sought. As such,

the Court finds that Magistrate Judge Mason’s decision denying Plaintiff’s motion

to compel and granting Defendants’ motion to quash was neither contrary to law

nor clearly erroneous.

                                    Conclusion

      For the reasons stated herein, Plaintiff’s objections to Magistrate Judge

Mason’s discovery order [226] are overruled.



IT IS SO ORDERED.                      ENTERED         4/12/17



                                       __________________________________
                                       John Z. Lee
                                       United States District Judge




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